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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                        KEY WEST DIVISION

                                               CASE NO.:

 DENISE CORBO,

          Plaintiff,

 vs.

 BAREFOOT BILLY’S, INC.,
 and BAREFOOT BILLY’S
 OF KEY WEST, INC.

       Defendants.
 _____________________________/

                                COMPLAINT AND JURY DEMAND

          Plaintiff, DENISE CORBO (hereinafter “Plaintiff,”) hereby sues Defendants,

 BAREFOOT BILLY’S, INC. (hereinafter, “BAREFOOT BILLY’S”) and BAREFOOT

 BILLY’S of KEY WEST, INC. (hereinafter, “BAREFOOT BILLY’S KEY WEST,”)

 (hereinafter collectively referred to as “Defendants,”) and alleges:

                                            JURISDICTION

          1.      This is a personal injury action wherein the amount in controversy exceeds the

 Court’s diversity jurisdiction minimum limit of seventy-five thousand dollars exclusive of

 interest, costs and attorney’s fees if any.

          2.      Plaintiff is a citizen and resident of Virginia.

          3.      Defendants are Florida corporations maintaining their principal places of business

 in Key West Florida.




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        4.      As there exists complete diversity and the amount in controversy exceeds

 seventy-five thousand dollars exclusive of interest, costs and attorney’s fees if any, this Court has

 subject matter jurisdiction pursuant to 28 U.S.C. §1332.

        5.      Alternatively, this Court has admiralty subject jurisdiction under 28 U.S.C. §

 1333 as this incident occurred upon navigable waters of the United States and the injury had the

 potential to disrupt maritime commerce.

        6.      Venue is appropriate under 87 U.S.C. § 1391(b)(1) as all Defendants reside in this

 District and under 87 U.S.C. § 1391(b)(2) as a substantial part of the events or omissions giving

 rise to this claim occurred within this District.

                                        GENERAL ALLEGATIONS

        7.      Defendants own, operate and/or manage a watersport rental company at 3841

 North Roosevelt Boulevard, Key West, Florida called Barefoot Billy’s.

        8.      Defendants are liveries as defined by Fla. Stat.

        9.      On October 22, 2012, Plaintiff and her daughter Alyssa Corbo rented a personal

 watercraft (hereinafter “PWC,”) from Defendants in conjunction with a personal watercraft tour

 offered by Defendants.

        10.     The PWC exceeded 10 horsepower.

        11.     Plaintiff and her daughter was directed by Defendants’ employee/agent to a rack

 of personal flotation devices (hereinafter “PFD,”) and told to take one each and put it one. There

 were only two PDFs on the rack in their size. They took the only two available PFDs and placed

 them on as directed.

        12.     The tour started near sunset.

        13.     The sun set in Key West on October 22, 2012 at 6:53 PM.


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          14.    Alyssa Corbo operated the PWC while Plaintiff rode on the saddle behind her

 daughter.

          15.    While on the tour, a buzzer and light alarm sounded on the PWC.

          16.    Plaintiff and Alyssa Corbo informed the tour guide (Defendants’ employee) of the

 alarm. The tour guide came over to Plaintiff on his PWC and informed Alyssa Corbo and

 Plaintiff that the PWC they were riding was low on fuel. The tour guide did not call for more

 fuel to be brought to the PWC or requested another PWC to be brought to Plaintiff and Alyssa

 Corbo.

          17.    Plaintiff and Alyssa Corbo continued riding with the tour group when the PWC

 stopped functioning resulting in the watercraft coming to a swift stop. This caused both Plaintiff

 and Alyssa Corbo to be ejected from the PWC.

          18.    When Plaintiff came in contact with the water and a hard piece of broken material

 making up Defendants’ PFD lacerated Plaintiff’s midsection.

          19.    From this incident, Plaintiff sustained with a Grade 4 Spleen laceration extending

 to the hilum and possible liver laceration requiring three (3) days in the intensive care unit and

 two additional days hospitalization for observation.

                                         COUNT I
                            NEGLIGENCE AGAINST BAREFOOT BILLY’S

          Plaintiff re-alleges all allegations set forth in paragraphs 1 – 19 above as if fully alleged

 herein and further alleges:

          20.    As a livery that rented PWC and provided PWC tours, BAREFOOT BILLY’S

 owed Plaintiff a duty of reasonable care under the circumstances.

          21.    BAREFOOT BILLY’S breached its legal duty owed to Plaintiff by:



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                        a.      Allowing overused, broken and unreasonably dangerous PDFs to

                be available for use by Plaintiff;

                        b.      Renting a PWC to Alyssa Corbo and Plaintiff that was overused,

                broken, unreasonable dangerous and/or not reasonably fit for its intended use;

                        c.      Not properly fueling the PWC for the tour;

                        d.      Not stopping the tour once advised of a warning alarm has sounded

                on the subject PWC;

                        e.      Not providing Plaintiff with another PWC once advised of a

                warning alarm has sounded on the subject PWC;

                        f.      Allowing the PWC to be operated by any person who has not

                received instruction in the safe handling of personal watercraft, in compliance

                with rules established by the Florida Fish & Wildlife Commission in violation of

                Fla. Stat. 327.39(6)(b)(1);

                        g.      Renting the PWC to Alyssa Corbo who was born after January 1,

                1988 and had not obtained a boater safety identification card as required by Fla.

                Stat. §327.395; and/or,

                        h.      Renting the PWC to Alyssa Corbo and Plaintiff without first

                providing an on-the-water demonstration and check ride to verify the prospective

                operator’s ability to safely operate the PWC.

        22.     The unreasonably hazardous condition of the PWC and/or PFD were either

 known by BAREFOOT BILLY’S or existed for a significant time as a reasonable person should

 have known of the unreasonably hazardous conditions.




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        23.     As a result of the above-alleged negligence, Plaintiff was injured about the body

 and extremities, suffered physical pain and suffering, mental anguish, reasonable fear of

 developing future physical and medical problems, loss of enjoyment of life, physical disability,

 impairment, inconvenience of the normal pursuits and pleasures of life, feelings of economic

 insecurity caused by the disability, disfigurement, aggravation of any previously existing

 conditions therefrom, incurred medical expenses in the care and treatment of the injuries,

 suffered physical handicap, lost past and future wages as well as impaired/diminished working

 ability and earning capacity. The injuries and damages are permanent or continuing in nature,

 and Plaintiff will suffer the losses and impairments in the future

        WHEREFORE, Plaintiff demands all damages entitled by law including compensatory

 damages, court costs and pre and post judgment interest.

                                       COUNT II
                      NEGLIGENCE PER SE AGAINST BAREFOOT BILLY’S

        Plaintiff re-alleges all allegations set forth in paragraphs 1 – 19 above as if fully alleged

 herein and further alleges:

        24.     Fla. Stat. §327.54(1) provides in relevant part:

                    A livery may not knowingly lease, hire, or rent a vessel to any

                    person:

                        (d) When the vessel is not seaworthy

                        (e) When the vessel is equipped with a motor of 10

                               horsepower or greater, unless the livery provides

                               prerental or preride instruction that includes, but need

                               not be limited to:



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                                1. Operational characteristics of the vessel to be

                                     rented.

                                2. Safe vessel operation and vessel right-of-way.

                                3. The responsibility of the vessel operator for the

                                   safe and proper operation of the vessel.

                                4. Local characteristics of the waterway where the

                                   vessel will be operated.

        25.     Fla. Stat. §327.54(2) provides:

                    A livery may not knowingly lease, hire, or rent any vessel

                    powered by a motor of 10 horsepower or greater to any person

                    who is required to comply with s. 327.395, unless such person

                    presents to the livery photographic identification and a valid

                    boater safety identification card as required under s.

                    327.395(1), or meets the exemption provided under s.

                    327.395(6)(f).

        26.     BAREFOOT BILLY’S violated Fla. Stat. §327.54 as it:

                    a.   Rented a vessel that was not seaworthy for its intended use as it was not

                         properly fueled for the subject tour and/or had mechanical deficiencies.

                    b.   Failed to provide prerental or preride instruction that included the

                         operational characteristics of the PWC, safe vessel operation and local

                         characterizes of the waterway where the tour was to occur.




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                    c.   Rented the PWC to Alyssa Corbo who was born after January 1, 1988

                         and did not have a boater safety identification card as required by Fla.

                         Stat. §327.395.

        27.     Fla. Stat. § 327.39(6)(b)1 provides:

                         It is unlawful for the owner of any leased, hired, or rented

                         personal watercraft, or any person having charge over or

                         control of a leased, hired, or rented personal watercraft, to

                         authorize or knowingly permit the watercraft to be operated

                         by any person who has not received instruction in the safe

                         handling of personal watercraft, in compliance with rules

                         established by the commission.

        28.     The Florida Fish and Wildlife Conservation Commission established the

 following rules wherein a livery or person renting a personal watercraft must:

                           a.   ensure that all individuals intending to operate the

                                personal watercraft have been properly trained in the

                                following topics prior to operation:

                                    i.   Propulsion,      steering,    and    stopping
                                         characteristics of jet-pump vessels.

                                   ii.   Boarding, falling     off,     capsizing,     and
                                         reboarding.

                         b.     Conduct an on-the-water demonstration and check

                                ride to verify the prospective operator’s ability to

                                safely operate the personal watercraft to be leased,

                                hired, or rented.


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                        c.    Display boating safety information in a place visible

                              to the renting public in accordance with the

                              commission’s guidelines.

        29.     BAREFOOT BILLY’S violated Fla. Stat. § 327.39(6)(b)1 as allowed the PWC to

 be rented without:

                        a.    Ensuring Plaintiff and Alyssa Corbo were properly trained on the

                              PWC’s propulsion, steering, and stopping characteristics of jet-pump

                              vessels as well as boarding, falling off, capsizing, and reboarding.

                        b.    Conducting an on-the-water demonstration and check ride to verify

                              the Alyssa Corbo’s ability to safely operate the personal watercraft

                              to be leased, hired, or rented

                        c.    Displaying boating safety information in a place visible to the

                              renting public in accordance with the commission’s guidelines.

        30.     Fla. Stat. §327.54 and Fla. Stat. § 327.39 were enacted to prevent PWC accidents,

 including rider ejection.

        31.     Plaintiff is within the particular class of person for which Fla. Stat. §327.54 and §

 327.39 were enacted to protect.

        32.     As a direct and proximate result of BAREFOOT BILLY’s violation of Fla. Stat.

 §327.54 and/or and § 327.39, Plaintiff was ejected from the PWC and was injured about the

 body and extremities, suffered physical pain and suffering, mental anguish, reasonable fear of

 developing future physical and medical problems, loss of enjoyment of life, physical disability,

 impairment, inconvenience of the normal pursuits and pleasures of life, feelings of economic

 insecurity caused by the disability, disfigurement, aggravation of any previously existing


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 conditions therefrom, incurred medical expenses in the care and treatment of the injuries,

 suffered physical handicap, lost past and future wages as well as impaired/diminished working

 ability and earning capacity. The injuries and damages are permanent or continuing in nature,

 and Plaintiff will suffer the losses and impairments in the future

        WHEREFORE, Plaintiff demands all damages entitled by law including compensatory

 damages, court costs and pre and post judgment interest.

                                   COUNT III
                    NEGLIGENCE AGAINST BAREFOOT BILLY’S KEY WEST

        Plaintiff re-alleges all allegations set forth in paragraphs 1 – 19 above as if fully alleged

 herein and further alleges:

        33.     As a livery that rented PWC and provided PWC tours, BAREFOOT BILLY’S

 KEY WEST owed Plaintiff a duty of reasonable care under the circumstances.

        34.     BAREFOOT BILLY’S KEY WEST breached its legal duty owed to Plaintiff by:

                   a.    Allowing overused, broken and unreasonably dangerous PDFs to be

                         available for use by Plaintiff;

                   b.    Renting a PWC to Alyssa Corbo and Plaintiff that was overused, broken,

                         unreasonable dangerous and/or not reasonably fit for its intended use;

                   c.    Not properly fueling the PWC for the tour;

                   d.    Not stopping the tour once advised of a warning alarm has sounded on

                         the subject PWC;

                   e.    Not providing Plaintiff with another PWC once advised of a warning

                         alarm has sounded on the subject PWC;

                   f.    Allowing the PWC to be operated by any person who has not received

                         instruction in the safe handling of personal watercraft, in compliance with

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                          rules established by the Florida Fish & Wildlife Commission in violation

                          of Fla. Stat. 327.39(6)(b)(1);

                    g.    Renting the PWC to Alyssa Corbo who was born after January 1, 1988

                          and had not obtained a boater safety identification card as required by

                          Fla. Stat. §327.395; and/or,

                    h.    Renting the PWC to Alyssa Corbo and Plaintiff without first providing an

                          on-the-water demonstration and check ride to verify the prospective

                          operator’s ability to safely operate the PWC.

         35.     The unreasonably hazardous condition of the PWC and/or PFD were either

  known by BAREFOOT BILLY’S KEY WEST or existed for a significant time as a reasonable

  person should have known of the unreasonably hazardous conditions.

         36.     As a result of the above-alleged negligence, Plaintiff was injured about the body

  and extremities, suffered physical pain and suffering, mental anguish, reasonable fear of

  developing future physical and medical problems, loss of enjoyment of life, physical disability,

  impairment, inconvenience of the normal pursuits and pleasures of life, feelings of economic

  insecurity caused by the disability, disfigurement, aggravation of any previously existing

  conditions therefrom, incurred medical expenses in the care and treatment of the injuries,

  suffered physical handicap, lost past and future wages as well as impaired/diminished working

  ability and earning capacity. The injuries and damages are permanent or continuing in nature,

  and Plaintiff will suffer the losses and impairments in the future

         WHEREFORE, Plaintiff demands all damages entitled by law including compensatory

  damages, court costs and pre and post judgment interest.

                                   COUNT IV
                NEGLIGENCE PER SE AGAINST BAREFOOT BILLY’S KEY WEST

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         Plaintiff re-alleges all allegations set forth in paragraphs 1 – 19 above as if fully alleged

  herein and further alleges:

         37.     Fla. Stat. §327.54(1) provides in relevant part:

                 A livery may not knowingly lease, hire, or rent a vessel to any

                 person:

                     (d) When the vessel is not seaworthy

                     (e) When the vessel is equipped with a motor of 10 horsepower

                           or greater, unless the livery provides prerental or preride

                           instruction that includes, but need not be limited to:

                           1.   Operational characteristics of the vessel to be rented.

                           2.   Safe vessel operation and vessel right-of-way.

                           3.   The responsibility of the vessel operator for the safe

                                and proper operation of the vessel.

                           4.   Local characteristics of the waterway where the

                                vessel will be operated.

         38.     Fla. Stat. §327.54(2) provides:

                     A livery may not knowingly lease, hire, or rent any vessel

                     powered by a motor of 10 horsepower or greater to any person

                     who is required to comply with s. 327.395, unless such person

                     presents to the livery photographic identification and a valid

                     boater safety identification card as required under s.

                     327.395(1), or meets the exemption provided under s.

                     327.395(6)(f).

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         39.     BAREFOOT BILLY’S violated Fla. Stat. §327.54 as it:

                    a.   Rented a vessel that was not seaworthy for its intended use as it was not

                         properly fueled for the subject tour and/or had mechanical deficiencies.

                    b.   Failed to provide prerental or preride instruction that included the

                         operational characteristics of the PWC, safe vessel operation and local

                         characterizes of the waterway where the tour was to occur.

                    c.   Rented the PWC to Alyssa Corbo who was born after January 1, 1988 and

                         did not have a boater safety identification card as required by Fla. Stat.

                         §327.395.

         40.     Fla. Stat. § 327.39(6)(b)1 provides:

                         It is unlawful for the owner of any leased, hired, or rented

                         personal watercraft, or any person having charge over or

                         control of a leased, hired, or rented personal watercraft, to

                         authorize or knowingly permit the watercraft to be operated

                         by any person who has not received instruction in the safe

                         handling of personal watercraft, in compliance with rules

                         established by the commission.

         41.     The Florida Fish and Wildlife Conservation Commission established the

  following rules wherein a livery or person renting a personal watercraft must:

                   a.    Ensure that all individuals intending to operate the personal

                         watercraft have been properly trained in the following

                         topics prior to operation:




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                   b.    Propulsion, steering, and stopping characteristics of jet-

                         pump vessels.

                   c.    Boarding, falling off, capsizing, and reboarding.

                   d.    Conduct an on-the-water demonstration and check ride to

                         verify the prospective operator’s ability to safely operate

                         the personal watercraft to be leased, hired, or rented.

                   e.    Display boating safety information in a place visible to the

                         renting public in accordance with the commission’s

                         guidelines.

         42.     BAREFOOT BILLY’S violated Fla. Stat. § 327.39(6)(b)1 as allowed the PWC to

  be rented without:

                   a.    Ensuring Plaintiff and Alyssa Corbo were properly trained on the PWC’s

                         propulsion, steering, and stopping characteristics of jet-pump vessels as

                         well as boarding, falling off, capsizing, and reboarding.

                   b.    Conducting an on-the-water demonstration and check ride to verify the

                         Alyssa Corbo’s ability to safely operate the personal watercraft to be

                         leased, hired, or rented

                   c.    Displaying boating safety information in a place visible to the renting

                         public in accordance with the commission’s guidelines.

         43.     Fla. Stat. §327.54 and Fla. Stat. § 327.39 were enacted to prevent PWC accidents,

  including rider ejection.

         44.     Plaintiff is within the particular class of person for which Fla. Stat. §327.54 and §

  327.39 were enacted to protect.


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         45.     As a direct and proximate result of BAREFOOT BILLY’s violation of Fla. Stat.

  §327.54 and/or and § 327.39, Plaintiff was ejected from the PWC and was injured about the

  body and extremities, suffered physical pain and suffering, mental anguish, reasonable fear of

  developing future physical and medical problems, loss of enjoyment of life, physical disability,

  impairment, inconvenience of the normal pursuits and pleasures of life, feelings of economic

  insecurity caused by the disability, disfigurement, aggravation of any previously existing

  conditions therefrom, incurred medical expenses in the care and treatment of the injuries,

  suffered physical handicap, lost past and future wages as well as impaired/diminished working

  ability and earning capacity. The injuries and damages are permanent or continuing in nature,

  and Plaintiff will suffer the losses and impairments in the future

         WHEREFORE, Plaintiff demands all damages entitled by law including compensatory

  damages, court costs and pre and post judgment interest.


                                               JURY DEMAND

         Plaintiff demands all trial by jury on all issues so triable.

                                                 Submitted this 13th Day of January, 2015.

                                                 BRAIS, BRAIS & RUSAK
                                                 Attorneys for Plaintiff
                                                 New World Tower
                                                 100 North Biscayne Blvd., Suite 800
                                                 Miami, Florida 33132
                                                 Telephone: (305) 416-2901
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                                                 By:_s./ RICHARD D. RUSAK___
                                                         RICHARD D. RUSAK
                                                         Fla. Bar No.: 0614181
                                                         KEITH S. BRAIS
                                                         Fla. Bar No.: 0863319



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